Case 2:23-cv-03885-LMG-LDW            Document 195 Filed 01/02/25                     Page 1 of 1 PageID:
                                            9983
                               UNITED STATES DISTRCT COURT
                                FOR THE DISTRICT OF NEW JERSEY




STATE OF NEW JERSEY,                                                Civil Action No. 2:23-cv-03885
                                        Plaintiff,
v.

UNITED STATE DEPARTMENT OF
TRANSPORTATION, et al.                                              NOTICE OF APPEARANCE
                        Defendants,
and

METROPOLITAN TRANSPORTATION AUTHORITY,
et al.
                       Defendant-Intervenors.




        PLEASE TAKE NOTICE that Nagel Rice, LLP, attorneys for amici curiae, Mark Sokolich and Richard

Galler (“Sokolich Plaintiffs”), hereby enters an appearance in the above case. By Order dated February 13, 2024

(ECF Document No. 119), the Court granted the Sokolich Plaintiffs’ status as amici curiae in this action.

        NOTICE is further given that the undersigned requests that all notices given or required to be given in this

case be given to and served upon the undersigned at the office, post office address and telephone number and e-

mail set forth herein:

                 Robert H. Solomon, Esq.
                 rsolomon@nagelrice.com
                 NAGEL RICE, LLP
                 103 Eisenhower Parkway
                 Roseland, NJ 07068
                 Telephone:     973-618-0400
                 Facsimile:     973-618-9194

                                                          NAGEL RICE, LLP
                                                          Attorneys for amici curiae, Mark Sokolich
                                                          and Richard Galler

                                                          By:s/Robert H. Solomon___
Dated: January 2, 2025                                        Robert H. Solomon, Esq.
